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16   and OTTOMOTTO LLC

17                               UNITED STATES DISTRICT COURT
18                            NORTHERN DISTRICT OF CALIFORNIA
19                                     SAN FRANCISCO DIVISION
20   WAYMO LLC,                                           Case No.     3:17-cv-00939-WHA
21                        Plaintiff,                      DEFENDANTS’ ADMINISTRATIVE
                                                          MOTION TO FILE UNDER SEAL
22          v.                                            PORTIONS OF THEIR SUR-REPLY
                                                          TO PLAINTIFF WAYMO LLC’S
23   UBER TECHNOLOGIES, INC.,                             MOTION FOR PRELIMINARY
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                    INJUNCTION, SUPPORTING
24                                                        DECLARATIONS, AND EXHIBITS
                          Defendants.                     THERETO
25
                                                          Trial Date: October 2, 2017
26

27
28

     DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
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 1          In accordance with Civil Local Rules 7-11 and 79-5, and General Order No. 62,

 2   Defendants Uber Technologies, Inc., Ottomotto LLC, and Otto Trucking LLC (“Defendants”)

 3   submit this motion for an order to file under seal the confidential, unredacted versions of the

 4   following documents:

 5          1.       Portions of Defendants’ Sur-Reply to Plaintiff Waymo LLC’s Motion for

 6   Preliminary Injunction (“Sur-Reply”);

 7          2.       Portions of the Supplemental Declaration of Michael Lebby in Support of

 8   Defendants’ Sur-Reply to Plaintiff Waymo LLC’s Motion for Preliminary Injunction (“Lebby

 9   Declaration”)

10          3.       Portions of the Supplemental Declaration of Scott Boehmke in Support of

11   Defendants’ Sur-Reply to Plaintiff Waymo LLC’s Motion for Preliminary Injunction (“Boehmke

12   Declaration”)

13          4.       Portions of the Supplemental Declaration of James Haslim in Support of

14   Defendants’ Sur-Reply to Plaintiff Waymo LLC’s Motion for Preliminary Injunction (“Haslim

15   Declaration”)

16          5.       Portions of the Supplemental Declaration of Esther Chang in Support of

17   Defendants’ Sur-Reply to Plaintiff Waymo LLC’s Motion for Preliminary Injunction (“Chang

18   Declaration”)

19          6.       Entirety of Exhibit 2 to the Lebby Declaration and Exhibit 15 to the Chang

20   Declaration

21          7.       Portions of Exhibit 26 to the Lebby Declaration

22          8.       Entirety of Exhibit 27 to the Lebby Declaration

23          9.       Entirety of Exhibits A, B, C, and D to the Boehmke Declaration

24          10.      Portions of Exhibit E to the Boehmke Declaration

25          11.      Entirety of Exhibit A to the Haslim Declaration

26          12.      Portions of Exhibit B to the Haslim Declaration

27          13.      Entirety of Exhibit 11 to the Chang Declaration

28          14.      Portions of Exhibits 12 and 14 to the Chang Declaration

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 1           Some of the redacted portions of the Sur-Reply, Lebby Declaration, Boehmke

 2   Declaration, Haslim Declaration, Exhibit E to the Boehmke declaration, Exhibit B to the Haslim

 3   Declaration, Exhibit 26 to the Lebby Declaration, and Exhibit 14 to the Chang Declaration

 4   discuss Uber’s proprietary and highly confidential designs for Uber’s custom LiDAR system.

 5   These portions are highlighted in blue on the unredacted copies of the documents. The design of

 6   Uber’s custom LiDAR system is an Uber trade secret which, if made public, would cause Uber

 7   irreparable harm in this very competitive space of autonomous driving. (Declaration of Michelle

 8   Yang In Support of Defendants’ Administrative Motion to File Documents Under Seal (“Yang

 9   Decl.”) ¶ 3.)

10           The entireties of Exhibits A, B, C, and D to the Boehmke Declaration contain defendants’

11   technical, proprietary trade secret information, which is highly confidential. Exhibits A and B are

12   emails discussing the development of a proprietary design, and Exhibits C and D are detailed

13   charts of design and performance specifications. If this information was made public, it could

14   irreparably harm Defendants. (Yang Decl. ¶ 4.)

15           The entirety of Exhibit A to the Haslim Declaration likewise contains highly confidential

16   trade secret information. Exhibit A is an email that discusses the development of a confidential

17   design. If this information was made public, it could irreparably harm Defendants. (Yang Decl.

18   ¶ 5.)

19           The entireties of Exhibits 11 and 15 to the Chang Declaration likewise contain highly

20   confidential trade secret information. Exhibit 11 is a presentation regarding Uber’s highly

21   confidential detailed market strategy and Exhibit 15 is an expert witness deposition discussing

22   proprietary trade secrets. If this information was made public, it could irreparably harm

23   Defendants. (Yang Decl. ¶ 6.)

24           I understand that these trade secrets are maintained as confidential by Uber and are

25   valuable as trade secrets to Uber’s business. The public disclosure of this information would give

26   Uber’s competitors access to in-depth descriptions and analysis of Uber’s detailed market strategy

27   information. If such information were made public, I understand Uber’s competitive standing

28   could be significantly harmed. (Yang Decl. ¶ 7.)

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 1          Some of the highlighted portions of the Sur-Reply, the Lebby Declaration, the Haslim

 2   Declaration, the Chang Declaration, Exhibit 26 to the Lebby Declaration, Exhibits 12 and 14 to

 3   the Chang Declaration, and the entirety of Exhibit 27 to the Lebby Declaration have been

 4   designated by Waymo as either confidential or highly confidential. Waymo’s designations are

 5   highlighted in green in the unredacted copies of the declarations and exhibits. (Yang Decl. ¶ 8.)

 6          The entirety of Exhibit 2 of the Lebby Declaration and Exhibit 15 to the Chang

 7   Declaration contain highly confidential information. Exhibit 2 to the Lebby Declaration and

 8   Exhibit 15 to Chang Declaration are excerpts the deposition transcript of Waymo’s expert witness

 9   discussing both Uber confidential trade secret information and Waymo’s alleged trade secrets

10   regarding sensor design. The entirety of the expert witness’s deposition transcript has been

11   designated “Highly Confidential – Attorneys’ Eyes Only” until the parties can exchange

12   confidentiality designations. (Yang Decl. ¶ 9.)

13          Pursuant to Civil Local Rule 79-5(d)(2), Defendants will lodge with the Clerk the

14   documents at issue, with accompanying chamber copies.

15          Defendants served Waymo with this Administrative Motion to File Documents Under

16   Seal on April 28, 2017.

17          For the foregoing reasons, Defendants request that the Court enter the accompanying

18   Proposed Order granting Defendants’ Administrative Motion to File Documents Under Seal and

19   designate the service copies of these documents as “HIGHLY CONFIDENTIAL –

20   ATTORNEYS’ EYES ONLY.”

21   Dated: April 28, 2017                        MORRISON & FOERSTER LLP
22
                                                  By: /s/Arturo J. González
23                                                      ARTURO J. GONZÁLEZ
24                                                Attorneys for Defendants
                                                  UBER TECHNOLOGIES, INC.,
25                                                OTTOMOTTO LLC, and OTTO TRUCKING LLC
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